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             IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF SOUTH DAKOTA
                      CENTRAL DIVISION

  BLUE STATE REFUGEES; LUKE           )                 3:21-cv-3024
                                              Case No. ______
  ROBERTSON; and CHAD DOLLICK, )
                                      )       COMPLAINT FOR
                       Plaintiffs,    )       DECLARATORY,
                                      )       INJUNCTIVE, AND
                       v.             )       OTHER RELIEF
                                      )
  KRISTI NOEM, Governor of South      )       TEMPORARY
  Dakota, in her official capacity;   )       RESTRAINING ORDER
  SCOTT BOLLINGER, Commissioner, )            REQUESTED
  Bureau of Administration, in his    )
  official and individual capacities; )
  BRENT GILL, Manager, Buildings      )
  and Grounds, Bureau of              )
  Administration, in his official and )
  individual capacities; and LEAH     )
  SVENDSEN, Special Projects          )
  Coordinator, Bureau of              )
  Administration, in her official and )
  individual capacities,              )
                                      )
                       Defendants.    )
  ____________________________________)

                              INTRODUCTION

  Just as the First Amendment guarantees individuals the right to

celebrate Christmas in many traditional ways, including worshipping at

church, decorating trees, or caroling, it forbids the State from

prohibiting the freedoms of speech and petition. Alas, “Christmas” is
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now the State’s excuse for prohibiting all political demonstrations

throughout the 200-plus acres of the State capitol grounds, from as

early as November 1 through New Year’s Day.

  The State capitol grounds are the quintessential traditional public

forum. Arguably no place in the State is as proper a location for political

speech as is the seat of the State’s government. And perhaps the most

critical time for such political speech to occur is when the State’s

legislature is in session. With two special sessions set for November 8

and 9, 2021, Plaintiffs plan on rallying the public to their cause—

support for a pandemic-related bill—on those days, on the State capitol

grounds.

  But when Plaintiffs sought a permit for their demonstration, they

were told that no gatherings were permitted anywhere on the State

capitol grounds, for at least two months, because the State is decorating

its capitol for Christmas.

  In no plausible way can accommodating holiday decorating justify

the wholesale deprivation of speech and petition rights throughout the

entire capitol grounds for over two months. Indeed, this restriction

vastly exceeds the Christmas decoration provisions in the State’s



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guidelines. The Court should put an immediate end to the practice, and

restore the people’s fundamental freedoms to speak, assemble, and

petition their state government for a redress of grievances in the place

and at the times when such freedoms matter most.

                               THE PARTIES

   1. Plaintiff Blue State Refugees is an unincorporated association of

South Dakotans who moved to the state from other parts of the United

States seeking greater individual freedom. Blue State Refugees brings

this action on behalf of itself and its approximately 30 members.

   2. Plaintiff Luke Robertson is a natural person and citizen of South

Dakota and of the United States. He is an active member of Blue State

Refugees.

   3. Plaintiff Chad Dollick is a natural person and citizen of South

Dakota and of the United States. He is an active member of Blue State

Refugees.

   4. Defendant Kristi Noem is the Governor of South Dakota. As the

State’s chief executive officer, Noem is ultimately responsible for

enforcing the laws complained of in this action. She is sued in her

official capacity.



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  5. Defendant Scott Bollinger is the Commissioner of South Dakota’s

Bureau of Administration. He is responsible for adopting the speech

prohibitions complained of in this action. He is sued in his official and

individual capacities.

  6. Defendant Brent Gill is the Manager of Buildings and Grounds at

the South Dakota Bureau of Administration. He is sued in his official

and individual capacities.

  7. Defendant Leah Svendsen is the Special Projects Coordinator at

the South Dakota Bureau of Administration. She is responsible for

event planning at the South Dakota state capitol grounds. She serves as

liaison between grounds staff and agency personnel who hold events in

the Capitol, by coordinating event set up and decorating as well as

ensuring that Bureau of Administration policies and guidelines for

facility use are followed. She is sued in her official and individual

capacities.

                          JURISDICTION AND VENUE

  8.   This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 1343, and 1346, as this action challenges




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Defendants’ violation of Plaintiffs’ civil rights pursuant to 42 U.S.C. §

1983.

   9.   Venue lies in this Court pursuant to 28 U.S.C. § 1391, as a

substantial part of the events and omissions giving rise to the claims

occurred in this judicial district, and Defendants reside within this

judicial district.

                               STATEMENT OF FACTS

                      South Dakota’s Capitol Grounds

   10. South Dakota’s Capitol “is located at 500 East Capitol Avenue

and houses the state Legislature, Supreme Court, most of the

Constitutional Officers, and various bureaus of executive management.”

South Dakota Bureau of Administration, Buildings and Grounds, State

Capitol and Capitol Grounds Use Guidelines (“Guidelines”),

https://boa.sd.gov/central-services/docs/public_facilities_brochure.pdf

(last visited Nov. 1, 2021).

   11. “The Capitol campus grounds are comprised of more than 200

acres of state property that includes 23 buildings; Capitol Lake; more

than 80 acres of cultured grass, including Hilger’s Gulch; and numerous

memorials.” Id.



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                           The Regulatory Regime

  12. The Commissioner of Administration is allowed to promulgate

rules and regulations governing use of the Capitol and its grounds. S.D.

Codified Laws § 5-15-34.

  13. Accordingly, “No person may hold any event, function, or

demonstration on the capitol complex unless a facility use request has

been submitted to and approved by the Bureau of Administration prior

to the use or function to be held.” S.D. Admin. Code § 10:08:01:02;

Guidelines § A.1.

  14. “Activities and events include any: formal or informal gathering

or congregation of people for any purpose; display or exhibit; or

performance, demonstration or ceremony.” Guidelines § A.2.

  15. “Capitol grounds are available for activities and events from 7:00

a.m. to 9:00 p.m. (CT) daily. Areas on the Capitol grounds commonly

requested for activities and events include: the front steps of the

Capitol; areas around Capitol Lake; and Hilger’s Gulch.” Id. § B.4.

  16. “During the annual Christmas tree display (Thanksgiving week

through New Years) the public areas in the Capitol building are




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reserved solely for activities and events related to the display, and

special scheduling and space considerations apply . . . .” Id. § B.5.

  17. The “Facility Use Request” that people must use in seeking a

permit to use the state capitol grounds provides that applicants first

contact the Buildings and Grounds office “to confirm availability of the

date requested before completing this application form.” South Dakota

Bureau of Administration, “Application for Use of the Capitol and

Grounds,” available at https://boa.sd.gov/forms/PublicFacilitiesApp.aspx

(last visited Nov. 3, 2021).

  18. “Any person who violates a rule promulgated pursuant to § 5-15-

34 commits a petty offense.” S.D. Codified Laws § 5-15-35. Petty

offenses are civil proceedings in which the State acts as plaintiff. S.D.

Codified Laws § 22-6-7. The State is awarded $25 for prevailing in a

petty offense proceeding, though that amount may be reduced or

eliminated in the interests of justice. S.D. Codified Laws § 23-1A-22.

            Defendants’ Censorship of Plaintiffs’ Political Speech

  19. Plaintiffs regularly hold political demonstrations and rallies

throughout the year, including during the Christmas holiday season.

Most of these demonstrations have taken place in and around



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Spearfish, South Dakota, but Plaintiffs are ready to spread their

message to other parts of the State, including to the state capitol

grounds.

  20. Among their beliefs, Plaintiffs and their members deeply believe

that receipt of COVID-19 vaccines should not be required to maintain

employment, attend schools, or access public accommodations and other

businesses. Some of them object to these drugs on religious grounds.

Others believe the risk/reward profile of these drugs cuts against their

use, at least on their own facts. They believe that it is morally wrong,

and socially and economically harmful, to require people who do not

wish to take these drugs to take them as a condition of employment,

education, or visiting a business.

  21. South Dakota legislators have drafted legislation, Draft 55, the

“COVID-19 Vaccine Freedom of Conscience Act,” which would bar

employers, educational institutions, and businesses from requiring that

people be vaccinated against COVID-19.

  22. South Dakota’s part-time legislature is set to meet in special

sessions on November 8 and 9, 2021.




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  23. Plaintiffs intend to hold a political demonstration in support of

Draft 55, on the South Dakota capitol grounds, on November 8 and 9,

2021, to coincide with the special legislative sessions on those days.

They believe that their speech would be most effective if they can

express themselves on the capitol grounds while all legislators are

expected to be at the Capitol. The demonstration would involve

speeches by Robertson, Dollick, and others; chanting; the waving of

signs and flags; and the distribution of political literature.

  24. Plaintiffs have attracted approximately 30-40 people to their

demonstrations in the past. They estimate at least as many people

would attend their planned November 8-9 demonstration at the capitol

grounds.

  25. Plaintiffs also intend to regularly hold political demonstrations

on the South Dakota capitol grounds during the winter holiday season,

as they believe that their messages of freedom, community, and renewal

resonate with the holiday spirit.

  26. On October 29, 2021, Luke Robertson, for himself and for Blue

State Refugees, emailed Joan Henderson, Senior Secretary at the state

Bureau of Administration, seeking a demonstration permit. Robertson’s



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email expressed, “My friends and I consider ourselves Blue State

Refugees, and we would like to obtain a permit for using the capitol

grounds on Nov 8 and 9 for a political demonstration during the Special

Session. How can we obtain this permit?”

  27. Henderson responded via email, “Unfortunately, the Capitol

Grounds are not available during the Special Session due to the

Christmas decorating season.”

  28. Robertson responded via email by linking to the Guidelines, and

stating, “The State Capitol and Capitol Grounds Use Guidelines say on

section B5 that the annual Christmas tree display is for Thanksgiving

week through New Years. My request is for Nov 8-9, which does not fall

in that range. Can you please clarify?” On November 1, 2021,

Henderson replied, explaining,

  South Dakota Capitol in Pierre has a huge Christmas Tree display
  during that time. And in order to prepare for the display, we start
  decorating in October. The week of November 8, we have scaffolding
  in the Capitol Rotunda and we are decorating. In front of the Capitol,
  we will be preparing for bringing in over 100 trees.

  29. On November 1, 2021, Blue State Refugee member Sara Lynn

Bouzek called the State Bureau of Administration, at the number

provided on the permit application form, to inquire about getting a



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permit to demonstrate at the capitol grounds. She spoke with Joan

Henderson, who told her that demonstrations are not allowed between

November 1 and January 1 anywhere on State capitol grounds property

because they are decorating the Capitol for Christmas.

  30. Ms. Henderson stated that decorating activity ends on November

22 this year, to be followed by the official lighting ceremony on

November 23. She invited Bouzek’s party to visit the Capitol to view the

decorations, and offered to have Defendant Leah Svendsen call her back

with further information.

  31. Shortly afterward, Bouzek received a call from Svendsen.

Svendsen confirmed that no demonstrations are allowed during the

months of November and December anywhere on the State capitol

grounds, because the State considers its decorating activities to be an

“event” and allows only one “event” per day anywhere, inside or outside,

on the capitol grounds, per Guidelines § A.4 (“Only one activity or event

per day will be approved on a first come, first served basis.”). Svendsen

stated that a demonstration at any time in November or December

would interfere with the decorators’ work.




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  32. Plaintiffs will refrain from engaging in their planned November

8 and 9 demonstration and future holiday season demonstrations at the

capitol grounds, because they fear that their demonstration would be

disrupted, and that they might face arrest, petty offense charges, fines,

and potentially prosecution and imprisonment by Defendant Noem for

demonstrating without a permit.

                            COUNT ONE
 RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
        FACIAL CHALLENGE TO SEASONAL SPEECH PROHIBITION

  33. Plaintiffs reallege and incorporate by reference paragraphs 1

through 32.

  34. Advocating for political change “at the site of the State

Government” is the “most pristine and classic form” of exercising the

First Amendment freedoms of speech and petition. Edwards v. South

Carolina, 372 U.S. 229, 235-36 (1963).

  35. State capitol grounds are the quintessential traditional public

fora, “parks which ‘have immemorially been held in trust for the use of

the public and, time out of mind, have been used for purposes of

assembly, communicating thoughts between citizens, and discussing




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public questions.’” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n,

460 U.S. 37, 45 (1983) (quoting Hague v. CIO, 307 U.S. 496, 515 (1939)).

   36. “The privilege of a citizen of the United States to use the streets

and parks for communication of views on national questions may be

regulated in the interest of all . . . but it must not, in the guise of

regulation, be abridged or denied.” Hague, 307 U.S. at 515-16.

Accordingly, the government “may impose reasonable restrictions on

the time, place, or manner of protected speech” in a public forum,

“provided the restrictions are justified without reference to the content

of the regulated speech, that they are narrowly tailored to serve a

significant governmental interest, and that they leave open ample

alternative channels for communication of the information.” McCullen

v. Coakley, 573 U.S. 464, 477 (2014) (internal quotation marks omitted).

   37. Defendants’ seasonal speech prohibition – their policy of refusing

all capitol grounds permit applications, and thereby forbidding “any

event, function, or demonstration on the capitol complex,” S.D. Admin.

Code § 10:08:01:02; Guidelines § A.1, including “any: formal or informal

gathering or congregation of people for any purpose; display or exhibit;

or performance, demonstration or ceremony,” Guidelines § A.2, between



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November 1 and January 1, on account of Christmas decoration, is not

narrowly tailored to serve any significant governmental interest and

does not leave open any ample alternative channels of communication.

Thus the seasonal speech prohibition on its face violates the First

Amendment right of free speech.

   38. By enforcing the seasonal speech prohibition, Defendants, under

color of law, deprive Plaintiffs of the right to free speech in violation of

the First and Fourteenth Amendments to the United States

Constitution. Plaintiffs are thus damaged in violation of 42 U.S.C. §

1983, and are therefore entitled to damages; declaratory and

preliminary and permanent injunctive relief against continued

enforcement and maintenance of Defendants’ unconstitutional customs,

policies, and practices; and attorney fees and expenses pursuant to 42

U.S.C. § 1988.

                             COUNT TWO
  RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
      AS-APPLIED CHALLENGE TO SEASONAL SPEECH PROHIBITION

   39. Plaintiffs reallege and incorporate by reference paragraphs 1

through 38.




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  40. Plaintiffs’ planned political demonstrations on the South Dakota

capitol grounds are fully-protected by the First Amendment right to free

speech. Defendants’ seasonal speech prohibition is unconstitutional as

applied against Plaintiffs’ planned political demonstrations.

  41. By enforcing the seasonal speech prohibition against Plaintiffs’

planned political demonstrations, Defendants, under color of law,

deprive Plaintiffs of the right to free speech in violation of the First and

Fourteenth Amendments to the United States Constitution. Plaintiffs

are thus damaged in violation of 42 U.S.C. § 1983, and are therefore

entitled to damages; declaratory and preliminary and permanent

injunctive relief against continued enforcement and maintenance of

Defendants’ unconstitutional customs, policies, and practices; and

attorney fees and expenses pursuant to 42 U.S.C. § 1988.

                            COUNT THREE
    RIGHT TO PETITION, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
        FACIAL CHALLENGE TO SEASONAL SPEECH PROHIBITION

  42. Plaintiffs reallege and incorporate by reference paragraphs 1

through 41.

  43. “[T]he right to petition for a redress of grievances is among the

most precious of liberties.” Calzone v. Summers, 942 F.3d 415, 422 (8th



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Cir. 2019) (en banc) (internal quotation marks and other punctuation

omitted).

  44. Although “[c]ourts should not presume there is always an

essential equivalence in the [Speech and Petition] Clauses or that

Speech Clause precedents necessarily and in every case resolve Petition

Clause claims,” Borough of Duryea v. Guarnieri, 564 U.S. 379, 388

(2011) (citation omitted), Petition Clause claims may be decided using

Speech Clause analysis, id. at 389; Hoffmann v. Liberty, 905 F.2d 229,

233 (8th Cir. 1990).

  45. Defendants’ seasonal speech prohibition is not a valid time,

place, and manner restriction on the right to petition, as it is not

narrowly tailored to serve any significant governmental interest and

does not leave open any ample alternative channels of communication.

Thus, the seasonal speech prohibition on its face violates the First

Amendment right to petition the government for a redress of

grievances.

  46. By enforcing the seasonal speech prohibition, Defendants, under

color of law, deprive Plaintiffs of the right to petition the government

for a redress of grievances in violation of the First and Fourteenth



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Amendments to the United States Constitution. Plaintiffs are thus

damaged in violation of 42 U.S.C. § 1983, and are therefore entitled to

damages; declaratory and preliminary and permanent injunctive relief

against continued enforcement and maintenance of Defendants’

unconstitutional customs, policies, and practices; and attorney fees and

expenses pursuant to 42 U.S.C. § 1988.

                             COUNT FOUR
    RIGHT TO PETITION, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
       AS-APPLIED CHALLENGE TO SEASONAL SPEECH PROHIBITION

  47. Plaintiffs reallege and incorporate by reference paragraphs 1

through 46.

  48. Plaintiffs’ planned political demonstrations on the South Dakota

capitol grounds are fully-protected by the First Amendment right to

petition the government for a redress of grievances. Defendants’

seasonal speech prohibition is unconstitutional as applied against

Plaintiffs’ planned political demonstrations.

  49. By enforcing the seasonal speech prohibition against Plaintiffs’

planned political demonstrations, Defendants, under color of law,

deprive Plaintiffs of the right to petition the government for a redress of

grievances in violation of the First and Fourteenth Amendments to the



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United States Constitution. Plaintiffs are thus damaged in violation of

42 U.S.C. § 1983, and are therefore entitled to damages; declaratory

and preliminary and permanent injunctive relief against continued

enforcement and maintenance of Defendants’ unconstitutional customs,

policies, and practices; and attorney fees and expenses pursuant to 42

U.S.C. § 1988.

                            COUNT FIVE
   RIGHT TO ASSEMBLE, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
        FACIAL CHALLENGE TO SEASONAL SPEECH PROHIBITION

  50. Plaintiffs reallege and incorporate by reference paragraphs 1

through 49.

  51. “The right of peaceable assembly is a right cognate to those of

free speech and press and is equally fundamental.” De Jonge v. Oregon,

299 U.S. 353, 364 (1937).

  52. Defendants’ seasonal speech prohibition is not a valid time,

place, and manner restriction on the right to peaceably assemble, as it

is not narrowly tailored to serve any significant governmental interest

and does not leave open any ample alternative channels of

communication. Thus the seasonal speech prohibition on its face

violates the First Amendment right to peaceably assemble.



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  53. By enforcing the seasonal speech prohibition, Defendants, under

color of law, deprive Plaintiffs of the right to peaceably assemble in

violation of the First and Fourteenth Amendments to the United States

Constitution. Plaintiffs are thus damaged in violation of 42 U.S.C. §

1983, and are therefore entitled to damages; declaratory and

preliminary and permanent injunctive relief against continued

enforcement and maintenance of Defendants’ unconstitutional customs,

policies, and practices; and attorney fees and expenses pursuant to 42

U.S.C. § 1988.

                            COUNT SIX
   RIGHT TO ASSEMBLE, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
      AS-APPLIED CHALLENGE TO SEASONAL SPEECH PROHIBITION

  54. Plaintiffs reallege and incorporate by reference paragraphs 1

through 53.

  55. Plaintiffs’ planned political demonstrations on the South Dakota

capitol grounds are fully-protected by the First Amendment right to

peaceably assemble. Defendants’ seasonal speech prohibition is

unconstitutional as applied against Plaintiffs' planned political

demonstrations.




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  56. By enforcing the seasonal speech prohibition against Plaintiffs'

planned political demonstrations, Defendants, under color of law,

deprive Plaintiffs of the right to peaceably assemble in violation of the

First and Fourteenth Amendments to the United States Constitution.

Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages; declaratory and preliminary and

permanent injunctive relief against continued enforcement and

maintenance of Defendants’ unconstitutional customs, policies, and

practices; and attorney fees and expenses pursuant to 42 U.S.C. § 1988.

                             PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs request that judgment be entered in their

favor and against Defendants as follows:

  1. Orders preliminarily and permanently enjoining Defendants, their

     officers, agents, servants, employees, and all persons in active

     concert or participation with them who receive actual notice of the

     injunction, from refusing to provide or denying applications to use

     the South Dakota capitol grounds on account of holiday decorating

     activity at the South Dakota Capitol, except for requests to access




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    space during specific, limited times and that said precise space

    must necessarily be in active use for decorating activity;

 2. Declaratory relief consistent with the injunctions, establishing

    that Defendants’ seasonal speech prohibition, barring all political

    demonstrations from November 1 through January 1 on account of

    Christmas decorating, violates the First Amendment rights of

    speech, petition, and assembly, on its face and as-applied to

    Plaintiffs’ political demonstrations, as the prohibition is not

    narrowly tailored to serving any significant government interests

    and does not leave ample alternatives for communication;

 3. A temporary restraining order enjoining Defendants, their

    officers, agents, servants, employees, and all persons in active

    concert or participation with them who receive actual notice of the

    injunction, from refusing to provide or denying Plaintiffs’

    applications to use the South Dakota capitol grounds on

    November 8 and 9, 2021, for political demonstrations, on account

    of holiday decorating activity at the South Dakota Capitol; and/or,

    enjoining Defendants, their officers, agents, servants, employees,

    and all persons in active concert or participation with them who



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    receive actual notice of the injunction, from enforcing S.D. Admin.

    Code § 10:08:01:02 or any other law to disrupt Plaintiffs’

    November 8 and 9, 2021 political demonstration on the South

    Dakota capitol grounds for lack of a permit;

 4. Against Defendants Bollinger, Gill, and Svendsen in their

    individual capacities, nominal damages in the amount of $1;

 5. Cost of suit, including attorney fees and costs pursuant to 42

    U.S.C. § 1988; and

 6. Any other relief as the Court deems just and appropriate.

    Dated: November 3, 2021              Respectfully submitted,

                                         /s/ Stacy R. Hegge
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